          Case 5:12-cv-02663-EJD Document 273 Filed 05/27/16 Page 1 of 2
                                                          ES DISTRICT
                                                         T            C
 1   JINA L. CHOI (Admitted to the New York Bar)
                                                       TA




                                                                            O
                                                   S




                                                                             U
                                                  ED
     SHEILA E. O’CALLAGHAN (Cal. Bar No. 131032)




                                                                              RT
 2     ocallaghans@sec.gov
     ROBERT J. DURHAM (Admitted to the New York Bar) GRANTED




                                              UNIT
 3     durhamr@sec.gov




                                                                                  R NIA
 4   Attorneys for Plaintiff
                                                                             a
                                                                J . D av i l




                                              NO
     SECURITIES AND EXCHANGE COMMISSION                       d
                                                      d w a r
                                           J u d ge E




                                                                                  FO
 5   44 Montgomery Street, Suite 2800




                                                RT
     San Francisco, California 94104




                                                                              LI
 6   Telephone: (415) 705-2500          ER                                                The Clerk shall




                                                  H




                                                                            A
     Facsimile: (415) 705-2501             N                                  C
 7                                                        D IS T IC T    OF               close this file.
                                                                R                         5/27/2016
 8

 9                              UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                      SAN JOSE DIVISION

12

13   SECURITIES AND EXCHANGE COMMISSION,                     Case No. 12-CV-2663 (EJD)
14                Plaintiff,
                                                              NOTICE OF VOLUNTARY
15         vs.                                                DISMISSAL OF DEFENDANTS
                                                              GLR CAPITAL MANAGEMENT,
16   GLR CAPITAL MANAGEMENT, LLC,                             LLC AND RELIEF DEFENDANT
                                                              GLR GROWTH FUND, L.P.
17                Defendant
18          and
19   GLR GROWTH FUND, L.P.,
20                Relief Defendant.
21

22

23

24

25

26

27

28

     NOTICE OF VOLUNTARY DISMISSAL                                                        CV12-2663 (EJD)
           Case 5:12-cv-02663-EJD Document 273 Filed 05/27/16 Page 2 of 2


 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Securities and Exchange

 2   Commission (“Commission”) hereby voluntarily dismisses with prejudice its action against

 3   Defendant GLR Capital Management, LLC (“GLR Capital”) and Relief Defendant GLR Growth

 4   Fund, L.P. (“Fund”). Rule 41(a)(1) permits a plaintiff to dismiss claims voluntarily where, as here,

 5   the opposing party has not served an answer or a motion for summary judgment.

 6          The Commission brought this action on May 24, 2012 alleging that GLR Capital served as the

 7   general partner of the Fund, a private investment fund, and violated certain provisions of the federal

 8   securities laws in connection with its operation of the Fund (ECF No. 1). GLR Capital is now

 9   defunct. On January 21, 2016, the Court ordered that a new corporation become the general partner

10   of the Fund. (ECF No. 257). In light of this, the Commission now voluntarily dismisses with

11   prejudice the claims pending against GLR Capital and the Fund.

12

13
     Dated: March 18, 2016                        /s/ Robert J. Durham
14                                                Robert J. Durham
                                                  Attorney for Plaintiff
15                                                Securities and Exchange Commission
16

17

18

19

20

21

22

23

24

25

26

27

28

     NOTICE OF VOLUNTARY DISMISSAL                                                           CV12-2663 (EJD)
